Dear Ms. Taylor:
You inquire whether the law permits an individual to simultaneously hold the position of St. Landry Parish Housing Authority Commissioner and the position of city councilman. Our response is governed by the following provision of Louisiana's Dual Officeholding and Dual Employment Law, stating:
      D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court. See LSA-R.S. 42:63(D); (Emphasis added).
Commissioners are appointed by the parish governing authority and serve on a part-time basis. See LSA-R.S. 40:531(A).1
Commissioners serve on a part-time basis for purposes of Louisiana's Dual Officeholding and Dual Employment Law. See R.S.42:62(4) and (5).2 The prohibition quoted above is applicable only if the individual holds the local elective office of city councilman while serving in a full-time appointive office. Thus, a parish housing commissioner may simultaneously serve as an elected member of the municipal governing authority without violating state law. In accord is Attorney General Opinion 99-1, copy attached.
However, note that the Code of Governmental Ethics is applicable to all housing authority officials. See R.S. 40:530.3 Any ethical concerns should be forwarded to the State Board of Ethics, 8401 United Plaza Blvd., Suite 200, Baton Rouge, LA, 70809, for review and resolution.
Very truly yours,
                                RICHARD P. IEYOUB ATTORNEY GENERAL
                                BY: _____________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams
Date Received: Date Released: February 24, 1999
KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
1 R.S. 40:531 pertinently provides:
§ 531. Appointment of commissioners to local housing authority, vacancy, removal
A. When the governing body of any municipality or parish, as the case may be, has determined, by resolution as set forth in R.S.40:393, that it is expedient to establish a local housing authority, the chief elected official of the municipality or parish, or if no such official exists, then the governing body itself shall appoint five persons who shall constitute the governing body of the local housing authority and shall be called commissioners.
2 R.S. 42:62 (4)  (5) provide:
(4) "Full-time" means the period of time which a person normally works or is expected to work in an appointive office or employment which is at least seven hours per day of work and at least thirty-five hours per week of work.
(5) "Part-time" means the period of time which a person normally works or is expected to work in an appointive office or employment which is less than the number of hours of work defined in this Section as full-time.
3 R.S. 40:530 provides:
§ 530. Conflict of interest
All housing authority officials and employees are subject to the state Code of Governmental Ethics.